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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    801 I Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4    Attorney for Defendant
     JACQUELIN LANOISE RADISHA WADE
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. 2:11-cr-00327-MCE
                                     )
12                  Plaintiff,       )
                                     ) WAIVER OF DEFENDANT’S PRESENCE
13        v.                         )
                                     )
14   JACQUELIN LANOISE RADISHA WADE )
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
18         Pursuant to Rule 43 of the Federal Rules of Criminal Procedure,
19   defendant, JACQUELIN LANOISE RADISHA WADE, hereby waives the right to
20   be present in person in open court upon the hearing of any motion or
21   other proceeding in this case, including, but not limited to, when the
22   case is set for trial, when a continuance is ordered, and when any
23   other action is taken by the court before or after trial, specifically,
24   appearances for any hearing regarding modification of conditions of
25   supervised release, except upon arraignment, plea, impanelment of jury
26   and imposition of sentence.
27   ///
28   ///
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1         Defendant hereby requests the Court to proceed during every
2    absence which the Court may permit pursuant to this waiver; agrees that
3    defendant’s interests will be deemed represented at all times by the
4    presence of the defendant’s attorney, the same as if the defendant were
5    personally present; and further agrees to be present in court ready for
6    trial any day and hour the Court may fix in the defendant’s absence.
7         The defendant further acknowledges being informed of the rights
8    under Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes
9    the defendant’s attorney to set times and dates under that Act without
10   the defendant’s personal presence.
11        The original signed copy of this waiver is being preserved by the
12   attorney undersigned.
13   Dated: August 22, 2011
14                                            /s/ Jacquelin L. Wade
                                             JACQUELIN LANOISE RADISHA WADE
15                                           Defendant
16
17
          I agree and consent to my client’s waiver of appearance.
18
     Dated: August 22, 2011
19                                           /s/ Matthew M. Scoble
20                                           MATTHEW M. SCOBLE
                                             Assistant Federal Defender
21                                           Attorney for Defendant
22
23
          IT IS SO ORDERED.
24
25   Dated: September 1, 2011

26
                                           _____________________________
27                                         MORRISON C. ENGLAND, JR.
28                                         UNITED STATES DISTRICT JUDGE


     Waiver of Appearance                   -2-
